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                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION
______________________________________
                                        :
SAFETY NATIONAL CASUALTY                :
CORPORATION,                            :    Civil Action No. 24-cv-5590
                                        :
                    Plaintiff,          :
                                        :
      v.                                :
                                        :
SALLY BEAUTY SUPPLY LLC and SALLY :
BEAUTY HOLDINGS, INC.,                  :
                                        :
                  Defendants.           :
                                        :
                                        :
_______________________________________ :

                     COMPLAINT FOR DECLARATORY JUDGMENT

       Plaintiff, SAFETY NATIONAL CASUALTY CORPORATION (“Safety National”), by

and through its attorneys, Michael J. Duffy, and Michael J. O’Malley of Wilson Elser Moskowitz

Edelman & Dicker LLP, for its Declaratory Judgment Complaint against SALLY BEAUTY

SUPPLY, LLC (“Sally Supply”) and SALLY BEAUTY HOLDINGS, INC. (“Sally Holdings”)

collectively (“Sally Beauty”), states as follows:

                                 STATEMENT OF THE CASE

       1.      This action seeks a declaration, pursuant to 28 U.S.C. § 2201 (the Declaratory

Judgment Act), that Safety National owes no insurance coverage obligations to Sally Beauty for

the claims raised in the putative class action lawsuit styled: Heather Durheim, individually and on

behalf of other persons similarly situated, v. Sally Beauty Supply LLC, and Sally Beauty Holdings,

Inc., Case No. 2022CH09383, (Cir. Ct. Cook County. Ill. 2022) (“Underlying Action”).
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       2.      A copy of the Original Complaint filed in the Underlying Action (“Original

Complaint”) is attached as “Exhibit A”.

       3.      A copy of the Amended Complaint filed in the Underlying Action (the “Amended

Complaint”) is attached hereto as “Exhibit B”.

                                            PARTIES

       4.      Safety National is an insurance company incorporated under the laws of the State

of Missouri with its principal place of business in Missouri.

       5.      Sally Supply is a Texas limited liability company with its principal place of

business in Texas whose members are Texas citizens.

       6.      Sally Holdings is a Texas corporation with its principal place of business in Texas.

                                JURISDICTION AND VENUE

       7.      The Court has jurisdiction over this matter pursuant to 28 U.S.C. §1332, as the

amount in controversy exceeds $75,000 and the parties are citizens of different states.

       8.      Venue is proper in this District pursuant to 28 U.S.C. §1391 because the Underlying

Action for which coverage is sought is pending within the geographical boundaries of this District.

                                             FACTS

A.     THE UNDERLYING ACTION

       9.      On September 21, 2022, Heather Durheim and the putative class (“Underlying

Plaintiffs”) commenced the Underlying Action against Sally Beauty alleging violations of the

Illinois Biometric Information Privacy Act, codified as 740 ILCS/14 and Public Act 095-994

(“BIPA”). See Ex. A.

       10.     Underlying Plaintiffs filed the Amended Complaint on or about January 20, 2023.

See Ex. B.



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         11.        In the Amended Complaint, Underlying Plaintiffs allege Sally Beauty violated

BIPA because it did not:

                -   Properly inform Underlying Plaintiffs in writing that their biometric
                    identifiers were being generated, collected, stored, and disclosed;

                -   Properly inform Underlying Plaintiffs in writing of the specific purpose and
                    length of time for which their biometric identifiers were being collected,
                    stored, used, and/or disclosed;

                -   Provide and follow a publicly available retention schedule and guidelines
                    for permanently destroying Underlying Plaintiffs’ biometric identifiers; or

                -   Receive a written release from Underlying Plaintiffs to collect, capture, or
                    otherwise obtain their biometric identifiers.

                -   Sally Beauty intentionally shared access to Plaintiff’s biometric identifiers
                    among a group of affiliated businesses in Illinois.

See, Ex. B.

B.       THE POLICIES

         12.        Below is a chart reflecting the policies issued by Safety National to Sally Holdings,

which, subject to their terms, provide certain Commercial General Liability Coverage

(collectively, the “Policies”). The Policies are attached as exhibits in accordance with the chart

below.

               Policy Period               Exhibit / Policy Limits                             Self-Insured
                                           No.                                                 Retention1

               11/16/2016 to               C                        $1 million per             $500,000 per
               11/16/2017                                           occurrence                 occurrence

                                                                    $1 million personal
                                           GL 4045090               and advertising
                                                                    injury

                                                                    $4 million aggregate




         1
             Each Policy’s Limit of Insurance applies over and in excess of the Self-Insured Retention.

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    11/16/2017 to       D                  $1 million per         $500,000 per
    11/16/2018                             occurrence             occurrence

                                           $1 million personal
                        GL 4045090         and advertising
                                           injury

                                           $4 million aggregate

    11/16/2018 to       E                  $1 million per         $500,000 per
    11/16/2019                             occurrence             occurrence

                                           $1 million personal
                        GL 4045090         and advertising
                                           injury

                                           $4 million aggregate

    11/16/2019 to       F                  $1 million per         $500,000 per
    11/16/2020                             occurrence             occurrence

                                           $1 million personal
                        GL 4045090         and advertising
                                           injury

                                           $3 million aggregate

    11/16/2020 to       G                  $2 million per         $500,000 per
    11/16/2021                             occurrence             occurrence

                                           $2 million personal
                        GL 4045090         and advertising
                                           injury

                                           $4 million aggregate

    11/16/2021 to       H                  $2 million per         $500,000 per
    11/16/2022                             occurrence             occurrence

                                           $2 million personal
                        GL 4045090         and advertising
                                           injury

                                           $4 million aggregate

    11/16/2022 to       I                  $2 million per         $500,000 per
    11/16/2023                             occurrence             occurrence


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                                    GL 4045090           $2 million personal
                                                         and advertising
                                                         injury

                                                         $4 million aggregate

             11/16/2023         to J                     $2 million per         $500,000 per
             11/16/2024                                  occurrence             occurrence

                                                         $2 million personal
                                    GL 4045090           and advertising
                                                         injury

                                                         $4 million aggregate

             11/16/2023 to          K                    $10 million per        $10,000 per
             11/16/2024                                  occurrence             occurrence
                                    XUM4068533
                                                         $10 million
                                                         products/completed
                                                         operations

                                                         $10 million
                                                         aggregate



C.     COMMERCIAL GENERAL LIABILITY COVERAGE

       13.      Subject to all of their terms, the Policies provide certain Commercial General

Liability coverage, and state, in part:

                                                         ***

       COVERAGE B - Personal and Advertising Injury Liability

                1.        Insuring Agreement

                          a.   We will pay those sums that the insured becomes legally
                               obligated to pay as damages because of “personal and
                               advertising injury” to which this insurance applies. We will
                               have the right and duty to defend the insured against any
                               “suit” seeking those damages. However, we will have no
                               duty to defend the insured against any “suit” seeking damages
                               for “personal and advertising injury” to which this insurance
                               does not apply. . . .


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                       b.     This insurance applies to “personal and advertising injury”
                              caused by an offense arising out of your business but only if
                              the offense was committed in the “coverage territory” during
                              the policy period.

See Exs. C-J.

       14.      The Policies provide the following definitions:

                                               ***

                14. "Personal and advertising injury" means injury, including consequential
                "bodily injury", arising out of one or more of the following offenses:

                       a.      False arrest, detention or imprisonment;

                       b.      Malicious prosecution;

                       c.      The wrongful eviction from, wrongful entry into, or invasion
                               of the right of private occupancy of a room, dwelling or
                               premises that a person occupies, committed by or on behalf
                               of its owner, landlord or lessor;

                       d.      Oral or written publication, in any manner, of material that
                               slanders or libels a person or organization or disparages a
                               person's or organization's goods, products or services;

                       e.      Oral or written publication, in any manner, of material that
                               violates a person's right of privacy;

                       f.      The use of another's            advertising   idea   in   your
                               "advertisement"; or

                       g.      Infringing upon another's copyright, trade dress or slogan in
                               your "advertisement".

                                                         ***

See Exs. C-J.

       15.      The Policies also contain the following exclusions:

                EXCLUSION - ACCESS OR DISCLOSURE OF CONFIDENTIAL OR
                PERSONAL INFORMATION AND DATA-RELATED LIABILITY

                A.     The following is added to Paragraph 2. Exclusions of Section I – Coverage
                       B – Personal And Advertising Injury Liability:


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               2. Exclusions

               This insurance does not apply to:

               Access Or Disclosure Of Confidential Or Personal Information

               "Personal and advertising injury" arising out of any access to or
               disclosure of any person's or organization's confidential or personal
               information, including patents, trade secrets, processing methods,
               customer lists, financial information, credit card information, health
               information or any other type of nonpublic information.

               This exclusion applies even if damages are claimed for notification
               costs, credit monitoring expenses, forensic expenses, public
               relations expenses or any other loss, cost or expense incurred by you
               or others arising out of any access to or disclosure of any person's or
               organization's confidential or personal information.

                                                 ***

 This insurance does not apply to:

                                                 ***

        a.     Knowing Violation of Rights of Another

               “Personal and advertising injury” caused by or at the direction of the
               insured with the knowledge that the act would violate the rights of
               another and would inflict “personal and advertising injury.”

                                                 ***

        b.     Recording And Distribution Of Material Or Information In
               Violation Of Law

               "Personal and advertising injury" arising directly or indirectly out of
               any action or omission that violates or is alleged to violate:

               (1)   The Telephone Consumer Protection Act (TCPA), including
               any amendment of or addition to such law;

               (2)     The CAN-SPAM Act of 2003, including any amendment of
               or addition to such law;

               (3)    The Fair Credit Reporting Act (FCRA), and any amendment
               of or addition to such law, including the Fair and Accurate Credit
               Transactions Act (FACTA); or


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                          (4)     Any federal, state or local statute, ordinance or regulation,
                          other than the TCPA, CAN-SPAM Act of 2003 or FCRA and their
                          amendments and additions, that addresses, prohibits, or limits the
                          printing, dissemination, disposal, collecting, recording, sending,
                          transmitting, communicating or distribution of material or
                          information.


See Exs. C-J.


       16.        The Policies contains the following endorsement entitled “Self-Insured Retention
                  Endorsement”2 which provides for a $500,000 self-insured retention and states:

                  C.      OUR RIGHT TO REIMBURSEMENT

             With respect to any claim or “suit” under this policy that has been tendered to
             us and that may exceed the applicable Self-Insured Retention amount, we may
             pay any or all of the Self-Insured Retention amount and “defense costs” on your
             behalf to defend or to effect settlement of such claim or “suit”. If we do so, you
             must promptly reimburse us for our payment.

                                                     ***
See Exs. C-J.

       17.        The Policies also contain the following provision which modifies the Commercial
                  General liability Coverage:

                  This endorsement modifies insurance provided under the following:

                                                               ***

                  A.      The provision of Paragraph B are added to all Insuring Agreements that set
                          forth a duty to defend under:

                          1.      Section I of the Commercial General Liability, Commercial
                          Liability Umbrella . . . .;

                                                               ***

                  Paragraph B, also applies to any other provision in the policy that sets forth a duty
                  to defend.

                  B.      If we initially defend an insured (“insured”) or pay for an insured’s
                          (“insured’s”) defense but later determine that the claim(s) is (are) not

       2
           As modified and/or amended by form IL 10 05 12 08, “Modified Self-Insured Retention Endorsement”.

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                       covered under this insurance, we will have the right to reimbursement for
                       the defense costs we have incurred.

                       The right to reimbursement for the defense costs under this provision will
                       only apply to defense costs we have incurred after we notify you in writing
                       that there may not be coverage, and that we are reserving our rights to
                       terminate the defense and seek reimbursement for defense costs.

                                                          ***

See Exs. C-J.

D.     ACTUAL CONTROVERSY

       18.      Sally Beauty has sought defense and indemnity of the Underlying Action from

Safety National under the Policies and has indicated that it has exhausted the Self-Insured

Retention(s) of the Policies.

       19.      Safety National denies that it owes Sally Beauty any defense or indemnity

obligation under the Policies.

         20.    An actual justiciable controversy exists between Safety National and Sally Beauty

as to the availability of insurance coverage to it under the Policies. Pursuant to 28 U.S.C. § 2201

(the Declaratory Judgment Act) this Court is vested with the power to declare the rights and

liabilities of the parties hereto and to give such other and further relief that may be necessary.

                                            COUNT I
                                          No Publication

       21.      Safety National incorporates and restates the allegations of Paragraphs 1 through

22 above as if fully set forth herein.

       22.      The Policies define “personal and advertising injury” as, among other things, oral,

written or electronic publication of material that violates a person's right of privacy.




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       23.     The allegations against Sally Beauty do not constitute “personal and advertising

injury” because they do not allege the publication of material that violates a person’s right of

privacy or any other “personal and advertising injury” offense.

       24.     Accordingly, no coverage is afforded for the claims in the Underlying Action under

Coverage B.

                                        COUNT II
          Access Or Disclosure Of Confidential Or Personal Information Exclusion

       25.     Safety National incorporates and restates the allegations of Paragraphs 1 through

26 above as if fully set forth herein.

       26.     The Policies each contain an exclusion called Access Or Disclosure Of Confidential

or Personal Information, which bars coverage for “personal and advertising injury” arising out of

any access to or disclosure of any person’s or organization’s confidential or personal information.

       27.     The Underlying Action seeks damages arising out of access to or disclosure of a

person’s confidential or personal information.

       28.     Accordingly, the Access Or Disclosure Of Confidential or Personal Information

Exclusion bars coverage for the claims in the Underlying Action.

                                     COUNT III
  Recording and Distribution Of Material Or Information In Violation Of Law Exclusion

       29.     Safety National incorporates and restates the allegations of Paragraphs 1 through

30 above as if fully set forth herein.

       30.     The Policies each contain an exclusion called Recording and Distribution Of

Material Or Information In Violation Of Law, which bars coverage for, among other things,

“personal and advertising injury” “arising directly or indirectly out of any action or omission that

violates or is alleged to violate: . . . Any federal, state or local statute, ordinance or regulation,



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other than the TCPA, CAN-SPAM Act of 2003 or FCRA and their amendments and additions,

that addresses, prohibits, or limits the printing, dissemination, disposal, collecting, recording,

sending, transmitting, communicating or distribution of material or information.”

       31.     The Underlying Action alleges that Sally Beauty violated BIPA, which is a state

statute that addresses, prohibits, or limits the printing, dissemination, disposal, collecting,

recording, sending, transmitting, communicating or distribution of material or information.

       32.     Accordingly, the Recording and Distribution Of Material Or Information In

Violation Of Law Exclusion bars coverage for the Underlying Action.

                                         COUNT IV
                       Knowing Violation of Rights of Another Exclusion

       33.     Safety National incorporates and restates the allegations of Paragraphs 1 through

34 above as if fully set forth herein.

       34.     The Policies each contain an exclusion called Knowing Violation of Rights Of

Another, which bars coverage for “personal and advertising injury" arising out of an offense

committed by, at the direction of or with the consent or acquiescence of the insured with the

expectation of inflicting "personal and advertising injury”.

       35.     The Underlying Action alleges Sally Beauty intentionally violated BIPA.

       36.     Accordingly, the Knowing Violation of Rights Of Another Exclusion bars coverage

for the Underlying Action.

                                         COUNT V
                              Reimbursement of Defense Costs Paid

       37.     Safety National incorporates and restates the allegations of Paragraphs 1 through

38 above as if fully set forth herein.




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       38.      As the Policies provide no coverage to Sally Beauty for the claims in the

Underlying Action, all sums paid by Safety National to defend the Underlying Action must be

reimbursed to Safety National as required by the Policies.

                                      PRAYER FOR RELIEF

       WHEREFORE, Plaintiff Safety National prays this Court enter the following relief:

             A. A declaration finding Safety National owes no duty to defend or indemnify Sally

                Beauty for the claims against it in the Underlying Action under the Policies;

             B. An Order requiring Sally Beauty to reimburse Safety National for any sum paid to

                defend the Underlying Action; and

             C. For all such just and equitable relief, including costs of this suit.


                                                        Respectfully Submitted,

                                                        By: /s/ Michael J. Duffy
                                                           Attorney for Safety National Casualty
                                                           Corporation



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